 Information to identify the case:
 Debtor
                   Primary Providers of Alabama, Inc.                                            EIN 27−1239960
                   Name


 UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF
 ALABAMA, NORTHERN DIVISION                                                                      Date case filed for chapter 11 10/26/18
 Case number: 18−83207−CRJ11


Official Form 309F (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/17

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.


  1. Debtor's full name                       Primary Providers of Alabama, Inc.


  2. All other names used in the fdba Allman Family Medicine, P.C.
     last 8 years


  3. Address                                  1861 Shellbrook Drive
                                              Huntsville, AL 35806

                                              Tazewell Shepard                                           Contact phone 256 512−9924
  4. Debtor's attorney                        Tazewell Shepard, P.C.
     Name and address                         PO BOX 19045
                                              HUNTSVILLE, AL 35804                                       Email: taze@ssmattorneys.com


  5. Bankruptcy clerk's office                                                                           Hours open:
      Documents in this case may be filed
      at this address.                        400 Well Street                                            8:00 a.m. − 4:00 p.m. Monday−Friday
      You may inspect all records filed in
      this case at this office or online at   P. O. Box 2775
      www.pacer.gov.                          Decatur, AL 35602                                          Contact phone 256−584−7900

                                                                                                         Date: 10/26/18

  6. Meeting of creditors                     November 27, 2018 at 01:30 PM
      The debtor's representative must
                                                                                                          Location:
      attend the meeting to be questioned
      under oath.
                                              The meeting may be continued or adjourned to Federal Building, Cain St Entrance,
      Creditors may attend, but are not       a later date. If so, the date will be on the court Room 200, Decatur, AL 35601
      required to do so.                      docket.

                                                                                                           For more information, see page 2 >




Official Form 309F (For Corporations or Partnerships)             Notice of Chapter 11 Bankruptcy Case                                             page 1



     Case 18-83207-CRJ11                      Doc 9 Filed 10/26/18 Entered 10/26/18 16:06:36                                          Desc Ch 11
                                                 First Mtg Corp/Part Page 1 of 2
Debtor Primary Providers of Alabama, Inc.                                                                    Case number 18−83207−CRJ11


  7. Proof of claim deadline                  Deadline for filing proof of claim: Not yet set. If a deadline is set, the court will send you
                                              another notice.

                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form
                                              may be obtained at www.uscourts.gov or any bankruptcy clerk's office.

                                              Your claim will be allowed in the amount scheduled unless:

                                                     • your claim is designated as disputed, contingent, or unliquidated;
                                                     • you file a proof of claim in a different amount; or
                                                     • you receive another notice.
                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or
                                              unliquidated, you must file a proof of claim or you might not be paid on your claim and you
                                              might be unable to vote on a plan. You may file a proof of claim even if your claim is
                                              scheduled.

                                              Claims can be filed electronically through the court's website at:
                                              www.alnb.uscourts.gov/electronic−proof−claim.

                                              You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of
                                              claim. Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court,
                                              with consequences a lawyer can explain. For example, a secured creditor who files a
                                              proof of claim may surrender important nonmonetary rights, including the right to a jury
                                              trial.

  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you
     deadline                                 must start a judicial proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline.   Deadline for filing the complaint:


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion
  9. Creditors
     address
               with a foreign                 asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                              United States bankruptcy law if you have any questions about your rights in this case.

                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not
                                              effective unless the court confirms it. You may receive a copy of the plan and a disclosure
                                              statement telling you about the plan, and you may have the opportunity to vote on the
  10. Filing a Chapter 11
      bankruptcy case                         plan. You will receive notice of the date of the confirmation hearing, and you may object
                                              to confirmation of the plan and attend the confirmation hearing. Unless a trustee is
                                              serving, the debtor will remain in possession of the property and may continue to operate
                                              its business.

                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include
                                              all or part of your debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may
  11. Discharge of debts                      never try to collect the debt from the debtor except as provided in the plan. If you want to
                                              have a particular debt owed to you excepted from the discharge and § 523(c) applies to
                                              your claim, you must start a judicial proceeding by filing a complaint and paying the filing
                                              fee in the bankruptcy clerk's office by the deadline.




Official Form 309F (For Corporations or Partnerships)                 Notice of Chapter 11 Bankruptcy Case                               page 2



     Case 18-83207-CRJ11                       Doc 9 Filed 10/26/18 Entered 10/26/18 16:06:36                             Desc Ch 11
                                                  First Mtg Corp/Part Page 2 of 2
